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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                         Alexandria Division


 GOSECURE INC.,
                                                            Case No. 1:21-cv-01222-CMH-IDD
                                         Plaintiff,
 v.

 BILLA BHANDARI,

                                      Defendant.



                     GOSECURE INC.’S ANSWER TO COUNTERCLAIM

           Plaintiff and Counter-Defendant GoSecure Inc. (“GoSecure”) answers Defendant and

 Counter-Claimant Billa Bhandari’s (“Bhandari” or “Defendant”) Counterclaim as follows:

                                            THE PARTIES
           1.     GoSecure lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations in this paragraph, but understands Bhandari to reside in Virginia.

           2.     GoSecure admits the allegations in Paragraph 2.

           3.     This paragraph consists of legal contentions and argument to which no response is

 required. To the extent a response is required to these assertions, GoSecure denies them.

                                   JURISDICTION AND VENUE
           4.     GoSecure admits that this Court has subject-matter jurisdiction in this action.

           5.     GoSecure admits that this Court has personal jurisdiction over the parties to this

 action.

           6.     GoSecure admits that this action is properly venued in this Court.

                                    FACTUAL BACKGROUND
           7.     GoSecure lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations in this paragraph, and on that basis denies them.




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         8.     GoSecure lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations in this paragraph, and on that basis denies them.

         9.     GoSecure lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations in this paragraph, and on that basis denies them.

         10.    GoSecure lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations in this paragraph, and on that basis denies them.

         11.    GoSecure lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations in this paragraph.

         12.    GoSecure lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations in this paragraph, and on that basis denies them.

         13.    GoSecure lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations in this paragraph, but understands that Bhandari has used the domain

 name gosecure and that he has asserted that these uses related to keeping consumer and personal

 data secure.

         14.    GoSecure lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations in this paragraph, but understands that Bhandari has asserted that he has

 been operating a business related to keeping electronic medical records secure.

                          PLAINTIFF’S FAILED UDRP COMPLAINT
         15.    GoSecure admits that it filed the UDRP Complaint on or around July 8, 2021.

         16.    GoSecure admits that this paragraph provides a fair, if incomplete, description of

 the UDRP process.

         17.    GoSecure admits that this paragraph provides a fair, if incomplete, description of

 the UDRP process.

         18.    This paragraph consists of a citation to case law to which no response is required.

         19.    This paragraph contains only legal contentions and argument to which no

 response is required. To the extent a response is required to these assertions, GoSecure denies

 them.




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        20.     This paragraph of legal contentions and argument to which no response is

 required. To the extent a response is required to these assertions, GoSecure denies them.

        21.     This paragraph of legal contentions and argument to which no response is

 required. To the extent a response is required to these assertions, GoSecure denies them.

        22.     This paragraph of legal contentions and argument to which no response is

 required. To the extent a response is required to these assertions, GoSecure denies them.

        23.     This paragraph of legal contentions and argument to which no response is

 required. To the extent a response is required to these assertions, GoSecure denies them.

        24.     This paragraph consists of citation to case law to which no response is required.

        25.     This paragraph consists of citation to case law to which no response is required.

        26.     GoSecure admits that it filed the UDRP Complaint.

        27.     GoSecure admits that the UDRP Complaint named Bhandari as the Respondent.

        28.     GoSecure admits was the Bhandari is the only named respondent in the UDRP

 Complaint and the only named defendant in this action.

        29.     GoSecure admits that the UDRP Complaint identified the domain name in dispute

 as gosecure.com

        30.     Denied.

        31.     Denied.
        32.     GoSecure admits that it reached out to the GoDaddy domain broker service to

 inquire about purchase of the domain and that Defendant demanded an outrageous sum for the

 domain.

        33.     Denied.

        34.     Denied.

        35.     GoSecure denies that the quoted statement from the UDRP Complaint (which is

 incomplete) is false, based on information it received from its own customers.

        36.     GoSecure admits that the UDRP Complaint and related Annex 5 exist and

 responds that they speak for themselves. GoSecure denies all characterizations and glosses given




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 to the UDRP Complaint by Defendant.

         37.     Denied.

         38.     Denied.

         39.     Denied.

         40.     Denied.

         41.     GoSecure lacks sufficient knowledge or information to form a belief as to the

 truth of the allegations relating to the history of GoDaddy’s phone support number, and on that

 basis denies the allegations.

         42.     GoSecure admits that the UDRP Complaint exists and responds that it speaks for

 itself. GoSecure denies all characterizations and glosses given to the UDRP Complaint by

 Defendant.

         43.     GoSecure admits that the UDRP Complaint exists and responds that it speaks for

 itself. GoSecure denies all characterizations and glosses given to the UDRP Complaint by

 Defendant.

         44.     GoSecure admits that the UDRP Complaint exists and responds that it speaks for

 itself. GoSecure denies all characterizations and glosses given to the UDRP Complaint by

 Defendant.

         45.     GoSecure admits that the UDRP Complaint exists and responds that it speaks for
 itself. GoSecure denies all characterizations and glosses given to the UDRP Complaint by

 Defendant. GoSecure denies that the UDRP Complaint admitted to or disclosed any ulterior

 “litigation strategy.”

         46.     GoSecure admits that the UDRP Complaint exists and responds that it speaks for

 itself. GoSecure denies all characterizations and glosses given to the UDRP Complaint by

 Defendant.

         47.     GoSecure admits that the UDRP Complaint exists and responds that it speaks for

 itself. GoSecure denies all characterizations and glosses given to the UDRP Complaint by

 Defendant.




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                                BHANDARI’S UDRP RESPONSE
         48.     GoSecure admits that Bhandari responded to the UDRP Complaint on August 2,

 2021.

         49.     This paragraph consists of legal contentions and argument to which no response is

 required. To the extent a response is required to these assertions, GoSecure denies them.

 GoSecure also specifically denies that any of its claims were fraudulent and denies that Bhandari

 had any “credible defenses.”

         50.     GoSecure admits that Bhandari’s response sought a finding of reverse domain

 name hacking.

         51.     This paragraph consists of legal contentions and argument to which no response is

 required. To the extent a response is required to these assertions, GoSecure denies them.

                                        UDRP DECISION
         52.     GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision. GoSecure denies that

 Bhandari prevailed “entirely” in that action, including without limitation because GoSecure

 established one of the two elements considered and made a prima facie showing on the second

 element considered by the panel.

         53.     GoSecure admits that this paragraph accurately identifies the composition of the
 panel that issued the UDRP Decision.

         54.     This paragraph consists of rhetoric and argument to which no response is

 required. To the extent a response is required to these assertions, GoSecure denies them.

         55.     GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure denies all characterizations and glosses given to the decision by Defendant.

         56.     GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure denies all characterizations and glosses given to the decision by Defendant.

         57.     GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision. GoSecure denies all




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 characterizations and glosses given to the decision by Defendant.

        58.    GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision. GoSecure denies all

 characterizations and glosses given to the decision by Defendant.

        59.    GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision. GoSecure denies all

 characterizations and glosses given to the decision by Defendant.

        60.    GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision. GoSecure denies all

 characterizations and glosses given to the decision by Defendant.

        61.    GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision. GoSecure denies all

 characterizations and glosses given to the decision by Defendant.

        62.    GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision. GoSecure denies all

 characterizations and glosses given to the decision by Defendant.

        63.    GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision. GoSecure denies all
 characterizations and glosses given to the decision by Defendant.

        64.    GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision. GoSecure denies all

 characterizations and glosses given to the decision by Defendant.

        65.    GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision. GoSecure denies all

 characterizations and glosses given to the decision by Defendant.

        66.    GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision. GoSecure denies all




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 characterizations and glosses given to the decision by Defendant.

        67.     GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision. GoSecure denies all

 characterizations and glosses given to the decision by Defendant.

        68.     GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision. GoSecure denies all

 characterizations and glosses given to the decision by Defendant.

        69.     GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision. GoSecure denies all

 characterizations and glosses given to the decision by Defendant.

        70.     Denied.

        71.     Denied.

        72.     Denied.

        73.     GoSecure admits that it filed the instant lawsuit on November 2, 2021. GoSecure

 denies all of Defendant’s characterizations and glosses given to the complaint in this action or to

 GoSecure’s conduct or intentions.

        74.     GoSecure admits that the Complaint exists and responds that it speaks for itself.

 GoSecure denies all characterizations and glosses given to the Complaint by Defendant.
        75.     Denied.

      BHANDARI’S GENERAL DAMAGES, SPECIAL DAMAGES AND INJURIES
        76.     Denied.

        77.     Denied.

        78.     Denied.

        79.     Denied.

        80.     Denied.

        81.     This paragraph consists of legal contentions and argument to which no response is

 required. To the extent a response is required to these assertions, GoSecure denies them.




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           82.    Denied.

           83.    GoSecure admits that the Rules for Uniform Domain Name Dispute Resolution

 Policy exists and responds that they speak for themselves.

           84.    GoSecure admits that the Rules for Uniform Domain Name Dispute Resolution

 Policy exists and responds that they speak for themselves.

           85.    GoSecure is without sufficient knowledge or information to form a belief as to the

 truth of the allegations in this paragraph, and on that basis denies them.

           86.    Denied.

           87.    Denied.

           88.    Denied.

           89.    Denied.

           90.    This paragraph consists of rhetoric, legal contentions, and argument to which no

 response is required. To the extent a response is required to these assertions, GoSecure denies

 them.

           91.    Denied.

           92.    Denied.

           93.    Denied.

           94.    Denied.
           95.    Denied.

           96.    Denied.

           97.    Denied.

                            COUNT 1 – MALICIOUS PROSECUTION
           98.    GoSecure incorporates its responses to Paragraphs 91-97 as if fully set forth

 herein.

           99.    GoSecure admits that malicious prosecution can be a tort in Virginia, but denies

 that the action is proper here.

           100.   This paragraph consists of citation to case law to which no response is required.




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        101.    This paragraph consists of citation to case law to which no response is required.

        102.    Denied.

        103.    Denied.

        104.    Denied.

        105.    Denied.

        106.    This paragraph consists of rhetoric and argument to which no response is

 required. To the extent a response is required to these assertions, GoSecure admits that the

 UDRP Decision exists and responds that it speaks for itself. GoSecure further notes that it

 disagrees with the UDRP Decision.

        107.    GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision.

        108.    GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision.

        109.    GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision.

        110.    GoSecure admits that the UDRP Decision exists and responds that it speaks for

 itself. GoSecure further notes that it disagrees with the UDRP Decision.

        111.    Denied.
        112.    Denied.

        113.    Denied.

        114.    Denied.

        115.    Denied.

        116.    GoSecure admits that the Complaint exists and responds that it speaks for itself.

        117.    This paragraph consists of legal contentions and argument to which no response is

 required. To the extent a response is required to these assertions, GoSecure denies them.

        118.    Denied.

        119.    Denied.




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        120.    Denied.

                                    PRAYER FOR RELIEF
        GoSecure denies that Defendant is entitled to any of the relief that he seeks.

                                                ***

            GOSECURE’S AFFIRMATIVE DEFENSES TO COUNTERCLAIM
        GoSecure further defends based on the following affirmative defenses:

                                          Unclean Hands
        Bhandari has acted misleadingly, unethically, and in bad faith in connection with both the

 instant action and the UDRP Complaint. Bhandari has also engaged in trademark infringement.

                                        Failure to Mitigate
        Bhandari failed to take reasonable steps to mitigate any damages he may have incurred as

 a result of the filing and prosecution of the UDRP Complaint.

                                       Equitable Estoppel
        Bhandari’s misleading, unethical, and bad-faith conduct reasonably induced GoSecure’s

 reliance, which resulted in material prejudice to GoSecure.

                                              Waiver
        Bhandari has waived any rights against GoSecure through his conduct.

 Dated: March 30, 2022                        Respectfully submitted,
                                              By: /s/ David Barmak________
                                              David Barmak (VSB No. 15853)
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                                CERTIFICATE OF SERVICE
 I hereby certify under penalty of perjury under the laws of the United States of America that a

 true and correct copy of the foregoing GOSECURE, LLC’S ANSWER TO COUNTERCLAIM

 was filed electronically pursuant to Civ. LR 504 using the Court’s CM/ECF system, which shall

 send notifications of such filing to all counsel of record. Any counsel of record who has not

 consented to electronic service through the Court’s CM/ECF system will be served by electronic

 mail.


                                          By: /s/ David Barmak________________
                                               David Barmak




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